

ORDER

PER CURIAM:
AND NOW, this 15th day of May, 2006, Jose Matos Quinones having been suspended for a period of ninety days from the practice of law before the Board of Immigration Appeals, the Immigration Courts and the Department of Homeland Security by Order of the Board of Immigration Appeals dated September 16, 2005; the said Jose Matos Quinones having been directed on March 3, 2006, to inform this Court of any claim he has that the imposition of the identical or comparable disci*980pline in this Commonwealth would be unwarranted and the reasons therefor; and no response having been filed, it is
ORDERED that Jose Matos Quinones is suspended from the practice of law in this Commonwealth for a period of ninety days, and he shall comply with all the provisions of Rule 217, Pa.R.D.E.
